Case 1:05-cv-01096-.]DT-STA Document 14 Filed 05/03/05 Page 1 of 2 Page|D 5

IN THE UNITED sTATEs DISTRICT coURT 0 k _.r_\ 0
FOR THE WESTERN DISTRICT oF TENNESSEE 4r `J, 10
EASTERN DIVISION _ 811 5,

DOYLE JOHNSON,

 

Plain¢iff,
VS.

MERCK & CO., INC.; MEDCO Case No.: 1:05-cv-01096-JDT-sta
HEALTH SOLUTIONS, INC.;
SARAH C. CAPOCACCIA;
STEPHANIE B. (BUCK) ISON;
COURTNEY SHAY (INGRAM)
McMAKIN; VINAY KRISHAN
SOOD; MICHAEL RICHARDS;
PATRICIA BLASINGAME and
SCOTT EVANS,

Defendants

 

 

OLD_E_R_

Came on for consideration Plaintist Unopposed Motion to Modify Stay.

AHer due consideration, IT IS ORDERED that this Court’s April 22, 2005 Order
Granting Motion to Stay be modified to allow for Plajntit`f to file a timely Motion to Rernand in
response to Defendant Merck & Co., Inc.’s Notice of Removal. Plaintiff understands that as a
result of previous orders, his remand order Will be adjudicated by the Multidistn`ct litigation

Court for No. 1657, Vioxx Litigation.

signed this the gMday ofM, 2005.

UNIT TATES DISTRICT JUDGE
Thls document entered on the docket sheet irs comp:agce
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with Rule 58 and,'or_'!Q (a} FRCP on 3

 

    
 

   

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Notice of Distribution

This notice confirms a copy of the document docketed as number 14 in
case 1:05-CV-01096 Was distributed by faX, mail, or direct printing on
May 5, 2005 to the parties listed.

 

 

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Honorable .1 ames Todd
US DISTRICT COURT

